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                            UNITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA
------------------------------------------------------------------------------------------------------

ISRAEL GARCIA, individually and on
behalf of a class of similarly situated individuals,

                                 Plaintiff,                      No.: 16-CV-02574-MJD-BRT

                        v.

TARGET CORPORATION, a Minnesota                                   FINAL JUDGMENT
corporation,

                                 Defendant.



        This action came before the Court on Plaintiff’s Motion for Final Approval

of the parties’ class action settlement agreement. The issues have been considered

and a decision has been rendered. Per Fed. R. Civ. Proc. 58,

        IT IS HEREBY ORDERED AND ADJUDGED THAT:

        Plaintiff’s motion for approval of the Settlement is granted, and the

Settlement Agreement submitted by the parties as Dkt. 181 is approved.

Capitalized terms in this Order carry the same meaning as in the settlement

agreement. Per the Settlement Agreement, Target Corporation shall establish a

Settlement Fund in full settlement of all Released Claims, in exchange for a release

in favor of Target Corporation by all Class Members who did not timely exclude



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themselves from the Settlement Class and dismissal with prejudice of the action.

The Court grants the following, which shall be paid out of the Settlement Fund:

attorneys’ fees and costs of $1,938,750.00, and an incentive award for the Class

Representative Israel Garcia in the amount of $10,000.00.

      LET JUDGMENT BE ENTERED ACCORDINGLY.




Dated: January 27, 2020.

                                     s/ Michael J. Davis
                                     Michael J. Davis
                                     United States District Court




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